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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :  CASE NO.
                                    :
                     v.             :
                                    :  VIOLATIONS:
            ANTHONY MASTANDUNO      :  18 U.S.C. §§111(a)(1) and b
                                       (Forcibly assault, resist, oppose, impede, intimidate, or interfere
                                    :  with certain designated individuals)
                                       18 U.S.C. § 1752(a)(1)
                      Defendant.    :  (Entering and Remaining in a Restricted Building or Grounds)
                                    :  18 U.S.C. § 1752(a)(2)
                                       (Disorderly and Disruptive Conduct in a Restricted Building or
                                    :  Grounds)
                                    :  18 U.S.C. § 1752(a)(4)
                                       (Physical violence against any person or property in any
                                    :  restricted building or grounds)
                                    :  40 U.S.C. § 5104(e)(2)(D)
                                       (Utter Loud, Threatening, or Abusive Language, or Engage in
                                    :  Disorderly or Disruptive Conduct, at any Place in the Grounds
                                       or in any of the Capitol Building)
                                    :  40 U.S.C. § 5104(e)(2)(F)
                                    :  (Physical violence in the Grounds or any of the Capitol
                                       Buildings)
                                    :  40 U.S.C. § 5104(e)(2)(G)
                                    :  (Parade, Demonstrate, or Picket in any of the Capitol Buildings)
                                       18 U.S.C. § 231(a)(3)(Obstruct, impede, or interfere with any
                                    :  fireman or law enforcement officer)
                                 ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence, and

serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

       1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.




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       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.



                                                       ___________________________________
  Date: August 16, 2023                                JUDGE MOXILA A. UPADHYAYA,
                                                       UNITED STATES MAGISTRATE JUDGE




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